Case 18-68479-pmb            Doc 60     Filed 06/27/19 Entered 06/28/19 15:12:13                         Desc Main
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                                                                                   2019 JUN 27 PM to 1
                             UNITED STATES BANKRUPTCY COuRT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

          IN RE:                                          )       CASE NO. i 8-68479-PM8
                                                          )
          JAMES EDWARD CARTER, IV                         )       CHAPTER II
                                                          )
                   Debtor.                                )


                     CLASS 4 BALLOT FOR ACCEPTING OR REJECTING
                               PLAN OF REORGANIZATION



           James Edward Carter, IV filed an Amended Plan of Reorganization dated May 7, 2019 (the
   "Plan") (Doc. 48) for the Debtor in this case. The Court has approved a disclosure statement with respect
   to the Plan (the "Disclosure Statement"), The Disclosure Statement provides information to assist you in
   deciding how to vote your ballot and is included in this mailing: Court approval of the disclosure ,
   statement does not indicate approval of the Plan by the Court;

           You should review the'Disclosure Statement and the Plan before you vote. You may wish to
   seek legal advice concerning the Plan and your classification and treatment undo-Abe Plan. Your •
   Claim has been placed in Class 4 under the Plan. If you 'hold claims or equity interests in more than
   one class, you will receive a ballot for each class in which you are entitled to vote.

          It' your ballot is not received by The Clerk Of the Bankruptcy Court or filed via ECF system
   on or before JULY 5, 2019 and such deadline is not extended, your vote vil1iot count as either an
   acceptance or rejection of the Plan.

          If the Plan is confirmed by the Bankruptcy Court, it will he binding on you whether or not
   you vote.
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                                      Document     Page 2 of 2




                        ACCEPTANCE OR REJECTION OF THE PLAN

   The undersigned, the holder of a Class 4 claim against the Debtor in the unpaid amount of:
            $27,419.24 American Express National Bank
            Account Ending: 1006




             (Check one box only)

             El ACCEPTS THE PLAN                                      X REJECTS THE PLAN

   Dated:
            June 24, 2019


                                    Print or type name:        Ken         W.   eJo in er
                                    Signature:
                                                                              1411 '
                                    Title (if corporation or par rship) Attornet ,,,,gent for creditw
                                    Address:               c/o Becket & Lee LLP, PO Box 3001, Malvern PA 19355




    RETURN THIS BALLOT TO:

    United States Bankruptcy Court for the Northern District of Georgia
    Clerk of Bankruptcy Court
    75 Ted Turner Drive, SW
    Room 1340
    Atlanta, GA 30303                       With email copy to: hsgatl.law
